                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,
                                                                 Case No. 04-CR-281
               -vs-

JAMES WOODS,
                              Defendant.


                                           ORDER


               The defendant, James Woods (“Woods”) motions the Court for judgment of

acquittal or in the alternative for a new trial. The Court has received the submission and

finds that more than sufficient evidence was produced at trial to sustain the jury’s

findings. In addition there is insufficient reason in the record to grant Woods a new trial

in the interest of justice.

               NOW, THEREFORE, BASED ON                    THE FOREGOING            IT IS

HEREBY ORDERED THAT:

               Woods’ motion for judgment of acquittal or in the alternative for a new trial

is DENIED.

               Dated at Milwaukee, Wisconsin, this 13th day of June 2005.

                                                   SO ORDERED,

                                                   s/ Rudolph T. Randa
                                                   HON. RUDOLPH T. RANDA
                                                   Chief Judge


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